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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION
TAMAR RENEE DOZIER CASE NO. 6:19-CV-01223
VERSUS JUDGE SUMMERHAYS
GOAUTO INSURANCE CO MAGISTRATE JUDGE HANNA
ORDER

Presently before the Court is the Motion to Remand and Associated Request, in the
Alternative, for Jurisdictional Discovery [ECF No. 11]. For the reasons stated in the Memorandum
Ruling;

IT IS ORDERED THAT the Court ADOPTS the Report and Recommendation and the
Supplemental Report and Recommendation IN PART. The Motion for Jurisdictional Discovery
[ECF No. 11] is GRANTED; the Motion to Remand [ECF No. 11] and the Motion to Dismiss

Petition, Motion to Stay [ECF No. 7] are removed from the Court’s docket pending completion of

jurisdictional discovery.
THUS DONE in Chambers on this day of September, 2020.

    
 

 

Robert R. Summerhays
United States District Judge
